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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

                               Criminal Case No. 22-CR-0012-WJM

UNITED STATES OF AMERICA,

vs.

LAWRENCE RUDOLPH,

__________________________________/

                    LAWRENCE RUDOLPH’S MOTION
        TO REVOKE ORDER OF DETENTION AND REQUEST FOR HEARING

       Lawrence Rudolph respectfully moves to revoke the order of pretrial detention. 18 U.S.C.

§ 3145(b). In support, Dr. Rudolph squarely addresses each of the magistrate judge’s bases for

ordering detention and demonstrates that the facts and the law require his release pending trial. These

considerations, discussed in greater detail throughout the motion, include:

•      Dr. Rudolph is not a risk of flight. Dr. Rudolph, a 67-year old father of two with no criminal
       history, had every opportunity to flee when he learned of the investigation five years ago, but
       took no steps to abscond. The notion that he could flee to a foreign country during a
       pandemic, without a passport, while being GPS monitored is fanciful.

•      Not only is Dr. Rudolph willing to pledge his home and other property as collateral, his
       children are also willing to post their homes. See attached exhibits.

•      Dr. Rudolph is not a danger to anyone. The government’s actions support this. Agents had
       no qualms over letting Dr. Rudolph remain at large, and travel internationally, even after
       obtaining a warrant to arrest him. The government has not shown clear and convincing
       evidence of any identifiable danger or why home-confinement does not eliminate any danger.

•      Perhaps most importantly, Dr. Rudolph is innocent. He did not murder his wife of 30 years.
       The magistrate judge gave the government’s weak evidence far too much weight and the
       evidence rebutting it next to no weight. Zambian authorities and five insurers determined that
       Bianca Rudolph died accidentally. Witnesses told the FBI that Dr. Rudolph did nothing to
       interfere in the investigation. No physical evidence supports the government’s murder theory.

       Dr. Rudolph vehemently maintains his innocence and is committed to defending himself. He

wants nothing more than to appear in court to fight the outrageous allegations against him. His
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detention rests primarily on conjecture, and there are other means short of imprisonment of

reasonably ensuring his presence, including strict home confinement with electronic monitoring,

surrender of all travel documents, financial monitoring, and a bond co-signed by his children. He is

amenable to private 24-hour security if the Court believes that is necessary to secure a senior citizen

with a pacemaker. Dr. Rudolph proposes a comprehensive set of bail conditions that fully addresses

any concern, no matter how speculative, that he will abscond or that he poses a danger to anyone.

                                         BACKGROUND

       On October 11, 2016, Bianca Rudolph died in a tragic accident while packing her shotgun

on the last day of an African hunting trip with her husband of over 30 years. Zambian authorities and

the insurance companies that paid the policies in this case investigated and concluded that Bianca

died accidentally. For years since, Larry Rudolph has known he is under investigation for murder,

as the FBI made no secret about it. Agents demanded that Larry and Bianca’s children answer painful

questions about their mother’s demise, surprising one at his home early on a Sunday morning and

serving both with subpoenas at their offices. Despite his awareness of the FBI’s tactics and

investigation, Dr. Rudolph never attempted to flee the country, hide assets, or hinder authorities in

any way. On the contrary, he retained counsel with every intention of defending his innocence.

       Agents believed they had probable cause to Dr. Rudolph no later than December 16, 2021.

They deliberately chose not to arrest him. At some point, they learned he would be traveling to

Mexico for a vacation on December 21, 2021. The agents had been investigating Dr. Rudolph for

years and were not at all concerned. They were so confident that he was neither dangerous nor a

flight risk that they let him fly to Mexico to test a novel legal theory that arresting him outside the

country would circumvent all limits on venue. DE37:119. Dr. Rudolph did not resist arrest.



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       In Denver, a place with no connection to the alleged murder, Dr. Rudolph was charged with

foreign murder and mail fraud. See 18 U.S.C. §§ 1119, 1341. On January 4, 2022, the magistrate

judge heard evidence of Dr. Rudolph’s family ties, lack of criminal record or history of violence,

poor health, and the blatant weaknesses in the government’s case. Ultimately, the magistrate judge

erroneously denied bail, relying on factors that relate more to rebutting the inviolable presumption

of innocence, see 18 U.S.C. § 3142(j), than demonstrating that no means short of imprisonment can

reasonably assure Dr. Rudolph’s appearance and incapacity to harm anyone:

•      Dr. Rudolph is “charged with murdering his wife while on safari in Zambia.” Id.

•      Dr. Rudolph “is wealthy, owns property in Mexico, has traveled extensively internationally,
       and has considerable experience with firearms.” Id.

•      The government’s forensic testing showing the “implausibility” that the fatal wound resulted
       from an accident; Dr. Rudolph supposedly made “inconsistent statements about his
       whereabouts at the time of the incident”; he “rush[ed] to cremate the decedent’s body”; he
       made “misrepresentation[s]” to family about extending the safari and to foreign authorities
       about “immediately” notifying his children allegedly stating “the decedent was not their
       biological mother.” Id.

•      The government “offered proof of the defendant’s volatile personality and threats of physical
       harm to others.” Id.

•      Dr. Rudolph faces a “lengthy sentence” if convicted.

DE23:3. These factors support detention only when wedded to a lot of conjecture—and only when

other facts are minimized or disregarded.

                                            ARGUMENT

I.     The magistrate judge erred in failing to explain why house arrest with electronic
       monitoring and financial sureties were insufficient in the circumstances.

       “In our society liberty is the norm, and detention prior to trial or without trial is the carefully

limited exception.” United States v. Salerno, 481 U.S. 739, 755 (1987). The Bail Reform Act thus



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states that an accused person must be conditionally released pending trial unless no conditions of

release could mitigate a demonstrated “serious risk” of flight or there is “clear and convincing

evidence that an arrestee presents an identified and articulable threat to an individual or the

community.” Id. at 751 (emphasis added); 18 U.S.C. § 3142(b) & (f); see United States v. Byrd, 969

F.2d 106, 109 (5th Cir. 1992) (“There can be no doubt that this Act clearly favors non-detention.”).

        As a recent Tenth Circuit decision reaffirms, the district court should consider every

reasonable alternative to pre-trial detention and must articulate why a proposed comprehensive plan

will not suffice to reasonably allay any legitimate concerns. See United States v. Mobley, 720 F.

App’x 441 (10th Cir. 2017). Bogdana Mobley was a dual Russian and U.S. citizen. She was charged

with taking her children from Kansas to Russia during a custody battle. As in this case, a magistrate

judge concluded that Mobley was a flight risk “with very little supporting analysis and no discussion

of why the proposed release conditions could not assure Mobley’s appearance at trial.” Id. at 444.

The Court of Appeals noted that, like in this case, the order failed to consider Mobley’s

“‘comprehensive release plan’ under which she would live with her parents in the United States and

surrender her passports to the probation office.” Id. at 443. The magistrate judge failed to consider

Mobley’s affirmative defense, id., just as the order in this case did not consider that the government’s

case is entirely circumstantial and based on dubious inferences, as explained infra. Dr. Rudolph has

never disregarded a court order, but Mobley had a “history of noncompliance with court orders.” Id.

at 445. Yet, the Tenth Circuit reversed the detention order because the district court “did not consider

whether any release conditions would assure Mobley’s appearance at trial—even though she offered

to submit to electronic monitoring, to have her parents pay a bond, and to turn in both her American

and Russian passports.” Id. Dr. Rudolph has surrendered his American passport.



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        As Mobley makes clear, detention is authorized only as a last resort, when release is plainly

impracticable. That standard has not even been arguably met here. For that reason, Dr. Rudolph

requests that, as part of its de novo review of the detention order, the Court convene its own hearing.

“‘When the district court acts on a motion to revoke or amend a magistrate’s pretrial detention order,

the district court acts de novo and must make an independent determination of the proper pretrial

detention or conditions for release.’” United States v. Cisneros, 328 F.3d 610, 616 (10th Cir. 2003)

(quoting United States v. Reuben, 974 F.2d 580, 585–86 (5th Cir. 1992)). “[T]he court may hold a

hearing, if it so chooses.” United States v. Oaks, 793 F. App’x 744, 747 (10th Cir. 2019).

        In this case, a de novo hearing is important because Dr. Rudolph has no criminal history and

no history of violent acts, and he has proposed various conditions to reasonably assure his

appearance and incapacity to harm anyone—yet, as in Mobley, those proposals have not been

seriously considered. One alternative is for him to live with his son, an attorney in Miami, who was

present at the first hearing and will be present at any subsequent one. See attached exhibit. As

Mobley emphasized, a release plan must be considered and given effect or its rejection must be

explained, and the Court should hear from Dr. Rudolph’s son. Additionally, the agents’ own conduct,

as well as Dr. Rudolph’s health and age, establish that whatever risk of flight exists in this case falls

well short of “serious.” Likewise, the threat Dr. Rudolph suddenly poses has not been identified or

articulated, much less clearly and convincingly proven. On the contrary, Dr. Rudolph has done

absolutely nothing—despite being aware of the investigation and its indecent behavior toward his

children in the wake of their mother’s death—to thwart justice. Finally, the government’s evidence

is far weaker than the magistrate judge appreciated. A hearing would help illuminate these points

on the detention issue, which is crucial to achieving a just result in this case.



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II.    There is no presumption favoring detention in this case.

       The magistrate judge erroneously suggested at the hearing that a presumption applied. See

DE37:152 (“[T]he Court concludes that there is a rebuttable presumption in this case that the

Defendant is not a suitable candidate for release.”). In her view, there was probable cause to believe

that Dr. Rudolph committed a § 924(c) violation. DE37:152; see 18 U.S.C. § 3142(e)(3)(B). This

matter was disputed, and the detention order ultimately did not expressly rely on the presumption.

DE23. However, the government argued in favor of one, DE37:125–26, and the magistrate judge

may have been influenced by the confusion.

       The presumption does not apply in this case because Dr. Rudolph has not been charged with

a § 924(c) offense.

       [T]he rebuttable presumption [does] not apply because the government had not yet
       charged defendant with the offense. The plain language of the statute and the
       legislative history shows that the presumption was intended to arise only after a
       defendant has been charged with the particular offense by a valid complaint or
       indictment.

United States v. Chimurenga, 760 F.2d 400, 405 (2d Cir. 1985); see also United States v. Payden,

759 F.2d 202, 205 (2d Cir.1985).

III.   Even if there were a presumption, the great weight of the evidence shows that there is
       no serious risk of flight and no clear and convincing proof of an articulable danger.

       A.      Dr. Rudolph poses no actual risk of flight, much less a serious one.

       For a district court considering whether a defendant is a serious flight risk, “the standard is

reasonably assure appearance, not ‘guarantee’ appearance, and ... detention can be ordered on this

ground only if ‘no condition or combination of conditions will reasonably assure the appearance.’”

United States v. Fortna, 769 F.2d 243, 250 (5th Cir. 1985); accord United States v. Orta, 760 F.2d

887, 889–90 (8th Cir. 1985) (en banc) (“In this case, the district court erred in interpreting the


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‘reasonably assure’ standard set forth in the statute as a requirement that release conditions

‘guarantee’ community safety and the defendant’s appearance.”).

        The case agent’s testimony at the detention hearing shows that the government does not really

believe Dr. Rudolph can or will flee. As the agent testified, Dr. Rudolph has known about this case

for years. DE37:92. “[H]e could have” just stayed in Zambia or Mexico if he wanted, but “he has

always returned from his trips.” DE37:93. This explains why the FBI let him travel to Mexico as part

of a scheme to manufacture venue for this case in Denver. Unlike many defendants, Dr. Rudolph did

not merely fear a potential investigation. On the contrary, it was an actual, persistent, invasive, and

tormenting force in his grieving family’s life. The FBI callously harassed Larry and Bianca’s

children—who, according to the prosecution itself, are victims of a terrible loss, DE37:8

(PROSECUTOR: “It is true that [Larry and Bianca’s son] is a victim ... .”)—for years after their

mother’s death, refusing to respect their privacy. Despite this aggressiveness, Dr. Rudolph, confident

in his innocence, made no effort to flee or hide assets. Just the opposite—he engaged counsel, who

reached out to the government offering to present evidence of Dr. Rudolph’s innocence.

        The factors listed to support detention do not establish a serious risk of flight. First, the

magistrate judge found that Dr. Rudolph “is wealthy.” DE23:3; DE37:155. The order, however,

overlooks that the government immediately seized a large share of Dr. Rudolph’s assets, more than

the value of the life insurance proceeds at issue in Count 2. Also, the order draws no link between

Dr. Rudolph’s resources and a tendency to flee. Neither the government nor the magistrate judge

have explained where Dr. Rudolph—who depends for his life on a pacemaker and various

prescriptions— can go to evade justice without a passport. A financial ability to flee is not equivalent

to an inclination to flee and does not justify detention. See United States v. Himler, 797 F.2d 156,



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162 (3d Cir. 1986) (“Mere opportunity for flight is not sufficient grounds for pretrial detention.”);

United States v. Hoover, 2014 WL 2094201, at *11 (D. Ariz. May 20, 2014) (“[T]he mere

opportunity to flee is not enough to justify detention as the Act does not require ironclad guarantees

against flight.”); United States v. Chen, 820 F. Supp. 1205, 1208 (N.D. Cal. 1992) (“Section 3142

does not seek ironclad guarantees, and the requirement that the conditions of release ‘reasonably

assure’ a defendant’s appearance cannot be read to require guarantees against flight.”).

        Furthermore, the magistrate judge gave no weight to Dr. Rudolph’s offer to pay for private

security guards to police his home confinement, should this Court believe that round-the-clock

electronic monitoring is insufficient to incapacitate a 67-year-old cardiac patient. Courts have found

that where a well-off defendant is denied bail in circumstances when one of “lesser means ... might

have been granted bail in the first place,” the defendant may be released if he bears the cost of paying

guards to assure his presence. United States v. Sabhnani, 493 F.3d 63, 78 n.18 (2d Cir. 2007); United

States v. Boustani, 932 F.3d 79, 82 (2d Cir. 2019) (“[T]he private-security condition ... may be

appropriate where the defendant is deemed to be a flight risk primarily because of his wealth.”).

Even if Dr. Rudolph’s wealth had any weight in his particular case, his willingness to pay for private

guards would entirely offset its relevance, especially given his poor health. The magistrate judge’s

reliance on wealth as a consideration was unjustified in the circumstances.

        Next, the magistrate judge observed that Dr. Rudolph “owns property in Mexico” and “has

traveled extensively internationally.” DE23:3; DE37:155 (“This may be, in the 14 years that I’ve

been on the bench, the case involving the most international travel by an accused person that I have

had in my courtroom ... . [T]hat he owns property outside of the country in Mexico make it

impossible for the Court to conclude that he is not a serious flight risk.”). These facts made a deep



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impression on the magistrate judge but did not worry the agents who thoroughly investigated Dr.

Rudolph for years. Dr. Rudolph’s vacations are simply not at all probative of his ability or inclination

to live a life fleeing justice without a passport. Certainly, it is inconceivable that Dr. Rudolph would

flee to his house in Cabo, the first place where the authorities would look for him, in a country that

routinely extradites fugitives to the United States and where Dr. Rudolph was already arrested in this

very case. There is no rational link between a vacation home in Mexico and a serious risk of flight.

        Even if there were a logical connection, the magistrate judge’s concern was rebutted by the

agent’s testimony that the government had no fear that Dr. Rudolph would remain in Cabo San

Lucas: “[H]e has always returned from his trips.” DE37:93. The case agent also assured the

magistrate that he had found no overseas bank accounts. Id. Rather than considering the importance

of that testimony, the magistrate judge made an inferential leap from the premise of a dentist who

earned a good living and used it to see the world with his wife of 30 years to the unjustified

conclusion that this dentist can inexplicably cross borders sans passport and with much of his assets

frozen, like a character in a Hollywood movie. The requirement that a flight risk be serious is meant

to keep such conjecture from forming the basis of a detention order.

        Notably, the government does not contend that it ever advised Dr. Rudolph not to leave the

country. Indeed, Dr. Rudolph’s whereabouts were well known to the agents, who wanted him to

leave the country so that he could be arrested abroad. The magistrate judge did not explain why an

electronic monitoring device would not provide sufficient assurance in these circumstances. The

order just assumes (as in Mobley) that Dr. Rudolph—a dentist from Pittsburgh, not an international

drug trafficker or foreign mobster with access to a powerful network of confederates—would have

to somehow cut off his ankle monitor without law enforcement reacting on time, disconnect his



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 phone so that the Mayo Clinic monitoring his pacemaker cannot locate him, secure travel with no

 access to unmonitored financial resources, and somehow cross the border with no passport to—well,

 we are never told where Dr. Rudolph can even go. Unlike the accused in Mobley, he is not a Russian

 citizen. The naked implausibility of any escape scenario demonstrates clearly that his appearance in

 court can be reasonably assured short of incarceration in a Denver prison.

        Lastly, the magistrate judge relied on the possibility of a “lengthy sentence that could be

 imposed if the defendant is found guilty of the charged offense.” DE23:3. The magistrate judge,

 however, ignored the fact that the possibility of a long sentence was not news to Dr. Rudolph, who

 knew for months that the FBI was turning over every stone trying to find evidence to build a case.

 Dr. Rudolph responded in an exemplary manner: He hired counsel who tried without success to

 engage the prosecution in reasoned discussion. Furthermore, federal courts require “more than

 evidence of the commission of a serious crime and the fact of a potentially long sentence to support

 a finding of risk of flight.” United States v. Friedman, 837 F.2d 48, 50 (2d Cir. 1988); Sabhnani, 493

 F.3d at 65, 76–77 (reversing detention order where defendants agreed to significant physical and

 financial restrictions, despite the fact that they faced a “lengthy term of incarceration”).

        Larry Rudolph has no criminal history. His son, Julian, is a lawyer in Miami. His daughter,

 AnaBianca, is a dentist in Pittsburgh. Unsurprisingly, Dr. Rudolph has the full support of his

 children, see attached affidavits. Although the government claims their father murdered their mother,

 both children are confident that their father did no such thing and that he will not flee. As the

 attached exhibits show, they are willing to put their homes and resources to secure their father’s

 release. Dr. Rudolph’s son is willing to have his father be confined to his home in Miami. Yet, the

 magistrate judge did not consider this, even though Julian Rudolph attended the hearing.



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         As the agent admitted, Dr. Rudolph could have left the United States and stayed away if he

 wanted to avoid prosecution. He never intended to do that and did not do that. Instead, he hired

 counsel to refute the allegations. The government cannot explain how Dr. Rudolph could flee. He

 will have no unmonitored assets. No travel documents. His family’s financial future will be at risk,

 meaning he’d have no help. He will be constantly monitored. The government simply has not come

 close to proving that “no conditions” exist that will reasonably assure Dr. Rudolph’s presence. It has

 not articulated with any evidence, let alone specific and credible evidence, how Dr. Rudolph could

 manage to flee under the proposed bail conditions.

         B.      Dr. Rudolph is not a clear and convincing danger to the community.

         After preparing this case for years, agents had no reservations about letting Dr. Rudolph

 remain at large for as long as it took to manufacture venue in Colorado:

         Q.      So you must not have thought he was a danger to the community between the time
                 you decided to go forward with the case and when he was arrested. You let him stay
                 out during that time, right?
         A.      We did allow him to stay out during that time.
         Q.      And you had determined prior to the date that he traveled to Cabo that you
                 were going to proceed with a murder case, right?
         A.      Yes.
         Q.      But you waited because you wanted venue in Denver, correct?
         A.      Correct.
         Q.      So you must not have thought he was a danger to the community between the
                 time you decided to go forward with the case and when he was arrested. You
                 let him stay out during that time, right?
          A.     We did allow him to stay out during that time.

 DE37:120. If Dr. Rudolph were truly dangerous and violent, the agents would have arrested him at

 the earliest opportunity.1


         1
           The magistrate judge also referred to Dr. Rudolph’s “considerable experience with firearms” as a
 basis for detention. DE23:3. Putting aside the constitutional issue of predicating a dangerous finding on the
 lawful possession of firearms, this concern easily could be dispelled with a condition that Dr. Rudolph
 surrender all firearms he could potentially have access to.

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         In the detention order, the magistrate judge incorrectly found that the government “offered

 proof of the defendant’s volatile personality and threats of physical harm to others.” DE23:3;

 DE37:156. This refers to hearsay complaints of disgruntled employees and comments between

 friends over drinks about completely unrelated events. One of those employees worked with Dr.

 Rudolph for only a few months and has a criminal record. But, even if these statements were

 credible, having a temper at work or words with an employee over six years ago does not make one

 dangerous. Mere talk is not relevant to detention because it is not evidence of a real threat to anyone.

 DE37:96. It was legal error to deem an abrasive personality a factor favoring incarceration.

         The government’s reliance on this shaky evidence is itself telling. Dr. Rudolph built a

 successful pediatric dental practice to pass on to his daughter. If he had created a tense work

 environment ruled by threats of violence and was throwing syringes at assistants, there would

 inevitably have been some sort of official complaint—i.e., real, hard evidence of the sort that the

 clear-and-convincing standard demands. There is none. In fact, the testimony cut against a finding

 of violence, despite the seriousness of the charge. Not one witness ever saw Dr. Rudolph be violent

 with his wife—and the FBI asked every single witness about this. The agent confirmed to the

 magistrate judge that he asked many people, and every single one said there was no evidence at all

 of a history of domestic violence: “No physical violence between the couple.” DE37:109.

         Nor does the government satisfy Salerno’s command that it explicate a specific threat of

 danger. This is not a defendant, like a drug trafficker or mobster, who might resume a life of crime

 upon posting bail. The government acknowledged as much: “This is not the sort of defendant where

 we’re making an argument like he’s a gang member and he’s going to be going around, you know,

 perpetrating random violence.” DE37:130. Yet, the magistrate judge did not insist on an explanation



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 of the threat Dr. Rudolph supposedly poses. There is no “identified and articulable threat to an

 individual or the community” as Salerno requires, 481 U.S. at 751, just vague insinuations wrapped

 in unreliable character disparagement. That is neither clear nor convincing evidence.

 IV.    The magistrate judge gave the government’s case far too much weight, in contravention
        of law and in disregard of the case’s serious flaws and weaknesses.

        At the detention hearing, the agent confirmed that there are no eye-witnesses, no fingerprints,

 no blood spatter on Dr. Rudolph, no gunshot residue—absolutely no physical evidence. DE37:83.

 Not only that, what hard evidence does exist cuts against the government. The Zambian government

 investigated Bianca Rudolph’s death and ruled it accidental. The life insurance companies the

 government calls “victims” likewise ruled her death accidental and paid on the policies. The

 detention order shows that the magistrate judge failed to appreciate the weakness of this case, which

 is built entirely on untested inferences, piling assumption on top of assumption.

        The weight of the government’s evidence is the least important that the Court can consider

 because the Court cannot make a pretrial determination of guilt. See United States v. Townsend, 897

 F.2d 989, 994 (9th Cir. 1990) (“The weight of the evidence against the defendant is a factor to be

 considered but it is ‘the least important’ of the various factors.”) (citation omitted); United States

 v. Montamedi, 767 F.2d 1403, 1408 (9th Cir. 1985) (“[T]he weight of the evidence is the least

 important of the various factors.”); Friedman, 837 F.2d at 50 (“[W]e have required more than

 evidence of the commission of a serious crime and the fact of a potentially long sentence to support

 a finding of risk of flight.”); 18 U.S.C. § 3142(j). The detention order, however, shows the magistrate

 judge gave this the most weight, devoting the order’s lengthiest paragraph to a summary of the

 government’s circumstantial evidence. DE23:3. The government’s evidence is much less convincing

 than the magistrate judge supposed.


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        First, the “forensic testing” that supposedly showed the “implausibility” that the fatal wound

 resulted from an accident is not nearly as ironclad as the word “forensic” is calculated to suggest.

 The government did not have the shotgun from the accident, so it used a substitute gun for its testing.

 It is undisputed, however, that the actual gun was modified during the hunting trip. DE37:101–02.

 There is no way to know what other modifications were made to it by previous owners. In fact, a

 witness told the agents that the shotgun from the accident “was not functioning correctly” and

 “repeatedly jammed” during the couple’s trip. DE37:106. The tests that the government’s experts

 performed on the substitute gun assumed, contrary to fact, that the gun was not modified in any way

 and was not defective. The government has not yet established that this evidence is even admissible,

 yet it wants this Court to incarcerate a presumptively innocent person in reliance on it.

        Another example of the government’s “forensic tests” relying on unfair surmise and

 inaccurate measurements was the agent’s testimony that the expert pathologist found that the firearm

 was fired at a “90-degree angle to the victim’s chest.” DE37:15; 97. The agent explained that, based

 on that specific angle, someone of Bianca’s size “cannot stand over a shotgun and place it in that

 position on their heart.” DE37:100. But the expert pathologist actually said nothing about a 90-

 degree angle in his report. His opinion is simply that the “wound path was directed predominantly

 front to back.” See Report of Dr. Cina, INV_2079. If the government’s pathologist did not identify

 the angle of discharge, then the conclusions drawn from its scene reconstructions are likely

 inadmissible and cannot support Mr. Rudolph’s detention.

        Another unknown variable was thrown into the “forensic tests” when agents learned that the

 gun bag involved in the accident was no longer manufactured. The government had the supplier

 make a custom batch of new bags with similar estimated measurements for testing. DE37:103. Those



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 new bags however, were not heavily used and run down with wear-and-tear like the Rudolphs’ bag,

 which would of course affect the testing. DE37:105. Also, the government hired a blood spatter

 expert who viewed the pictures and determined that the evidence was inconclusive. DE37:74.

        There was also a discrepancy about the measurement of the fatal wound because the photos

 of the wound were taken incorrectly during the autopsy. DE37:110. A precise measurement of the

 size of the wound is vital because it can show the shot pattern, angle, and distance of the gun when

 it discharged. If the measurements are not exact, as here, the shot pattern “potentially could change

 based on the difference of the distance.” DE37:111. Worse, the photos of the wound that were used

 to scale for the expert were taken after the autopsy, after the wound was manipulated and probed.

 This makes it likely that the initial wound was smaller before the photos the government relied on

 were taken, potentially leading to a prejudicially inaccurate conclusion.

        The government’s evidence even failed to refute the conclusion that the Zambian authorities

 and insurance companies reached—that Mrs. Rudolph’s death was a tragic accident. The

 government’s claim that the gun would not have discharged if dropped was refuted with clear and

 convincing evidence—i.e. the gun manual, which reads: “Dropping a loaded gun can cause an

 accidental discharge even if the safety is in the safe position. Be extremely careful while hunting or

 during any shooting activity to avoid dropping any firearm.” DE37:124. Additionally, though the

 government suggested that Bianca Rudolph was an avid hunter who knew how to handle a firearm

 and would not had this sort of accident, the hearing revealed that several witnesses made clear that

 Bianca “was not a confident hunter.” She was nervous about handling the hunt on this particular trip.

 She was usually just handed the gun ready to shoot and handed it right back to the guide. The agent

 conceded that he had no idea whether she could even load and unload a firearm. DE37:107–08.



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        Second, the theory that Dr. Rudolph quickly cremated his wife’s body to cover up evidence

 was eviscerated at the hearing. The magistrate judge’s reliance on this evidence was improper. The

 agents’ belief that Dr. Rudolph cremated his wife’s remains to destroy evidence was proven false

 as her will expressly directed cremation. DE37:84–89. The testifying agent admitted that Bianca’s

 will directing her cremation was “valuable” information unknown to the government. DE37:89.

 Additionally, the contention that Dr. Rudolph plotted to “escape rigorous scrutiny and maintain

 control of evidence,” DE35:1, is flatly false. The Zambian investigators maintained that Dr. Rudolph

 did nothing to improperly influence their investigation or to obstruct justice. The government

 repeatedly asked the Zambian camp staff members and investigators about bribes being paid: “None

 of them reported having been paid [or offered] money.” DE37:94. The agent also confirmed that

 there was no sign that Dr. Rudolph attempted to prevent an autopsy, a ballistic report, photographs

 of the scene, witness statements, or any other investigative action. DE37:94–95. In fact, Dr. Rudolph

 cooperated with the Zambian authorities and gave a voluntary statement without counsel present.

        Relatedly, the government’s supposed financial motive for the crime unraveled when it came

 out that agents undercounted Dr. Rudolph’s assets by excluding his dental practice worth $10

 million. DE37:115, 147. Additionally, the government’s theory that murder was cheaper than divorce

 was undermined by a post-nuptial agreement that came to light at the hearing, which the government

 did not know about. DE37:117. The testifying agent conceded that the agreement would have been

 “helpful” in the discussion regarding motive. Id.

        Third, assuming it is true that Dr. Rudolph made inconsistent statements, that is not

 especially probative under the circumstances. The government spent a significant amount of time

 interviewing individuals who interacted with Larry and Bianca Rudolph during their trip. Those



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 witnesses all described the couple as “happy,” having a good time, and said they saw no “red flags.”

 DE37:106–07. None reported seeing even a trace of hostility or discord. Witnesses recounted that

 the morning of the accident, camp staff was coming in and out of the couple’s room, bringing coffee

 and collecting luggage. DE37:112. All the witnesses who immediately responded to the room after

 the gun discharged told the government that they believed it was an accident. DE37:97. The

 magistrate judge did not give those facts due consideration.

        After the tragic death of his wife, the case agent testified that the witnesses described Dr.

 Rudolph as “distraught,” “crying,” “hysterical,” and according to the agent, “one person said he was

 so distraught, he looked like he might commit suicide.” DE37:98-99. Based on the government’s

 own evidence of Dr. Rudolph’s compromised mental condition after the horror of having found his

 wife of 30 years with a fatal wound in her chest, it stands to reason that he may not have been

 clear-headed when recounting his exact location immediately preceding the trauma.

        Similarly, when it comes to how Dr. Rudolph communicated with his children and other

 family, the government assumes the worst, and does not consider that perhaps he thought it was best

 to have the hardest conversation of his life face-to-face with loved ones. Dr. Rudolph never made

 the statement to anyone that Bianca was not the biological mother of the children. The government

 assumes an evil motive because he was trying to get home to his family to grieve with them in-

 person. The government is not entitled to dictate the orthodox response to a shocking tragedy and

 draw speculative inferences about anyone who deviates from the acceptable reaction.

        The magistrate judge erred in finding that the weight of the evidence presented by the

 government supported denial of pretrial release. As much as the government would prefer that Dr.

 Rudolph not have a fair fight, this Court can recognize the glaring weaknesses in the government’s



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 case, and level the playing field by granting pretrial release, so that the presumption of innocence is

 more than mere words on a page.

                                           CONCLUSION

        Dr. Rudolph should not be detained. He poses no danger and no serious risk of flight.

 Additionally, as detailed in the separate motion for relief under 18 U.S.C. § 3142(i), which we

 incorporate here, his detention poses a grave threat to his health and his ability to prepare for trial.

        To reasonably assure his apperance, Dr. Rudolph proposes:

 •      $5 million personal recognizance bond, co-signed by his two children and secured by Dr.
        Rudolph’s home and the homes of both children.

 •      House arrest in the custody of either (1) Lori Milliron, with whom he lives in Phoenix, a
        Unites States citizen who has lived in the United States her entire life, (2) his son, Julian
        Rudolph, who is a lawyer and lives in Miami, Florida, or (3) his daughter, AnaBianca
        Rudolph, who is a dentist and lives in Cranberry, Pennsylvania, with travel only for court
        appearances, meetings with counsel, visits with medical providers, with approval of Pretrial
        Services and subject to electronic monitoring.

 •      Visitors are to be approved in advance by Pretrial Services, with counsel and family members
        to be pre-approved.

 •      Surrender of all travel documents with no new applications. Dr. Rudolph has already has
        surrendered his passport.

 •      No contact with any potential witness in the case.

 •      Dr. Rudolph will not encumber any property or use his resources, other than for basic living
        expenses and for legal counsel. He is willing to comply with any other financial monitoring
        that the Court deems necessary.

 •      Surrender of all firearms.

 •      If the Court believes it is necessary, Dr. Rudolph will pay for on-premises, round-the-clock
        private security guards. The guards could report to Pretrial Services if the Court so orders.

 •      Such other terms as the Court may deem appropriate.




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        Even though a guarantee of appearance is not necessary, the bail package proposed in this

 case is as close to a guarantee as one can get. There is no legally permissible basis to deny bail.

        WHEREFORE, Lawrence Rudolph respectfully requests this Court convene a hearing to

 revoke the order of detention imposed and set a reasonable bond.

                                                       Respectfully submitted,
                                                       MARKUS/MOSS PLLC
                                                       40 N.W. Third Street
                                                       Penthouse One
                                                       Miami, Florida 33128
                                                       (305) 379-6667
                                                       markuslaw.com

                                                       By:     ________________________
                                                               DAVID OSCAR MARKUS
                                                               Florida Bar Number 119318
                                                               dmarkus@markuslaw.com


                                  CERTIFICATE OF SERVICE

        This motion was filed on January 17, 2022, through CM/ECF.



                                                       _______________________
                                                       DAVID OSCAR MARKUS




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